     Case 1:21-cv-05338-SCJ-SDG-ELB Document 63 Filed 05/20/22 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GEORGIA STATE CONFERENCE
OF THE NAACP, et al.,

        Plaintiffs,                           CIVIL ACTION

v.                                            FILE NO. 1:21-CV-05338-SCJ

STATE OF GEORGIA, et al.,

        Defendants.


                      DEFENDANTS’ MOTION TO DISMISS

        Defendants the State of Georgia; Brian Kemp, in his official capacity as

Governor of Georgia; and Brad Raffensperger, in his official capacity as

Secretary of State of Georgia (collectively, “Defendants”) move to dismiss

Plaintiffs’ claims in their Amended Complaint under Section 2 of the Voting

Rights Act [Doc. 59] pursuant to Fed. R. Civ. P. 12(b)(1) and (6). In support of

this motion, Defendants rely on their Brief in Support of Motion to Dismiss,

which is filed with this motion.

        Respectfully submitted this 20th day of May, 2022.

                                     Christopher M. Carr
                                     Attorney General
                                     Georgia Bar No. 112505
                                     Bryan K. Webb
                                     Deputy Attorney General
Case 1:21-cv-05338-SCJ-SDG-ELB Document 63 Filed 05/20/22 Page 2 of 3




                               Georgia Bar No. 743580
                               Russell D. Willard
                               Senior Assistant Attorney General
                               Georgia Bar No. 760280
                               Charlene S. McGowan
                               Assistant Attorney General
                               Georgia Bar No. 697316
                               40 Capitol Square, S.W.
                               Atlanta, Georgia 30334

                               /s/Bryan P. Tyson
                               Bryan P. Tyson
                               Special Assistant Attorney General
                               Georgia Bar No. 515411
                               btyson@taylorenglish.com
                               Frank B. Strickland
                               Georgia Bar No. 687600
                               fstrickland@taylorenglish.com
                               Bryan F. Jacoutot
                               Georgia Bar No. 668272
                               bjacoutot@taylorenglish.com
                               Loree Anne Paradise
                               Georgia Bar No. 382202
                               lparadise@taylorenglish.com
                               TAYLOR ENGLISH DUMA LLP
                               1600 Parkwood Circle, Suite 200
                               Atlanta, GA 30339
                               Telephone: (678) 336-7249

                               Attorneys for Defendants




                                 2
   Case 1:21-cv-05338-SCJ-SDG-ELB Document 63 Filed 05/20/22 Page 3 of 3




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned certifies that the foregoing

Motion has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                    /s/ Bryan P. Tyson
                                    Bryan P. Tyson
